        Case 3:15-cv-00675-JBA Document 1163 Filed 05/20/19 Page 1 of 5




                                  UNITED STATES DISTRICT COURT
                                      DISTRICT OF CONNECTICUT
 ----------------------------------------------------------------- X
 UNITED STATES SECURITIES AND                                      :
 EXCHANGE COMMISSION,                                              :
                                                                   :
                            Plaintiff,                             :
                                                                   :
      v.                                                           :
                                                                   :
 IFTIKAR AHMED,                                                    :
                                                                     Civil Action No.
                                                                   :
                                                                     3:15-CV-675 (JBA)
                            Defendant, and                         :
                                                                   :
 IFTIKAR ALI AHMED SOLE PROP,                                      :
 I-CUBED DOMAINS, LLC; SHALINI AHMED;                              :
 SHALINI AHMED 2014 GRANTOR RETAINED                               :
 ANNUITY TRUST; DIYA HOLDINGS LLC;                                 :
 DIYA REAL HOLDINGS, LLC; I.I. 1, a minor                          :
 child, by and through his next friends IFTIKAR and :
 SHALINI AHMED, his parents; I.I. 2, a minor child, :
 by and through his next friends IFTIKAR and                       :
 SHALINI AHMED, his parents; and I.I. 3, a minor                   :
 child, by and through his next friends IFTIKAR and :
 SHALINI AHMED, his parents,                                       :
                                                                   :
                            Relief Defendants.                     :
                                                                     May 20, 2019
 ----------------------------------------------------------------- X

    RESPONSE BY HARRIS, ST. LAURENT & CHAUDHRY LLP TO THE FIRST
  INTERIM APPLICATION FOR PROFESSIONAL FEES AND EXPENSES BY THE
                 RECEIVER AND HIS PROFESSIONALS

       In the May 15, 2019, First Interim Application for Professional Fees and Expenses by the

Receiver and His Professionals (“First Fee Application”) Dkt. 1160, the Receiver again confirms

what Relief Defendants have been stating for over two years: that the assets in the Receivership

Estate exceed the amount required to secure any judgment that Plaintiff could obtain in this matter

and certainly exceed the Judgment obtained by Plaintiff. Dkt. 955. In a discussion about the

geographical locations of assets in the Receivership Estate, the Receiver notes in passing that the

assets in the Receivership Estate exceed the amount necessary to secure the Judgment. Dkt. 1160



                                                  1
         Case 3:15-cv-00675-JBA Document 1163 Filed 05/20/19 Page 2 of 5




at 13. Furthermore, because the assets of the Receivership exceed the amounts of the Judgment,

the Receiver has stated that he does not intend to seek liquidation of certain property of the

Receivership Estate and has not even sought to value it. Id. at 17 (“With the exception of certain

gold bars and gold coins, the Receiver does not believe at this time that liquidation of Receivership

Personal Property is necessary to secure the Judgment and thus has not proposed a formal valuation

or liquidation process of these assets.”) Finally, in his application, the Receiver again concludes,

as he did in his Report, Dkt. 1130-1, that there is approximately $18 million in assets in excess of

the amount needed to secure the Judgment. Dkt. 1160-5 at 6.1

       In making these arguments, the Receiver appears to be heading off the possibility of

objections to his First Fee Application on the basis that payments to the Receiver could reduce the

recoveries of persons holding claims against the Receivership Estate. See, e.g., S.E.C. v. Byers,

No. 08 CIV. 7104 DC, 2014 WL 7336454, at *6 (S.D.N.Y. Dec. 23, 2014) (“As a policy matter,

the rule of moderation [in setting the amount of fees for receivers] makes particular sense in

circumstances such as those here, where hundreds of investors and creditors have been defrauded

and victims are likely to recover only a fraction of their losses.”) In doing so, however, the Receiver

appears to have abandoned the position he took in his opposition to Defendant’s motion for a

mistrial just two weeks ago: “[T]here are no Receivership Estate assets that, in the Receiver’s view,

are truly excess and unnecessary to secure the Judgment.” Dkt. 1146 at 2.




1
  Specifically, the Receiver, applying extremely conservative assumptions, concludes that the
total value of the assets in the Receivership Estate amounts to $89,377,509.22. Dkt. 1160-5 at 6.
Among other conservative assumptions, in addition to effectively valuing hundreds of thousands
of dollars of gold and jewelry at zero dollars, as noted above, the Receiver discounts 100% the
value of Defendant’s interests in various Oak accounts, on the basis that “the holder of the asset
takes the position that the asset has been forfeited.” Id.


                                                  2
         Case 3:15-cv-00675-JBA Document 1163 Filed 05/20/19 Page 3 of 5




       To be clear, Harris, St. Laurent & Chaudhry LLP (“HSC”) do not oppose the First Fee

Application and agree with the Receiver’s repeatedly stated conclusion that the assets of the

Receivership Estate far exceed the amount required to secure the Judgment. HSC submits this

response solely to underscore the obvious: if there are sufficient funds to pay the expenses of the

Receiver without impacting the security of the Judgment, there are also sufficient funds to allow

for the payment of attorneys’ fees to HSC and Berenzweig Leonard LLP.

       Given that the debts owed HSC long pre-date obligations to the Receiver, and given that

the Receiver’s work has done little but confirm Relief Defendants’ arguments about the relative

size of the Judgment and the assets comprising the Receivership Estate, it would be inequitable to

prioritize the Receiver over HSC in order of payment. As stated above, the Receivership Estate

can without question permit the payment of both of the outstanding legal fees and the Receiver’s

fees without in any way compromising the security of the Judgment. But if only one of HSC and

the Receiver can be paid, the Court should exercise its discretion to pay HSC. For this reason and

for all the reasons stated in HSC’s latest application for attorneys’ fees, Dkt. 1152, that application

should be granted.

Dated: New York, New York
       May 20, 2019

                                               Respectfully submitted,

                                                      /s/ S. Gabriel Hayes-Williams
                                               Jonathan Harris (phv07583)
                                               Joseph Gallagher (phv09604)
                                               S. Gabriel Hayes-Williams (phv07948)
                                               HARRIS, ST. LAURENT& CHAUDHRY LLP
                                               40 Wall Street, 53rd Floor
                                               New York, New York 10005
                                               Telephone: 212.397.3370
                                               Facsimile: 212.202.6202

                                               Withdrawing Attorneys for Relief Defendants



                                                  3
Case 3:15-cv-00675-JBA Document 1163 Filed 05/20/19 Page 4 of 5




                            I-Cubed Domain, LLC, Shalini Ahmed,
                            Shalini Ahmed 2014 Grantor Retained
                            Annuity Trust, Diya Holdings, LLC, Diya
                            Real Holdings, LLC, I.I. 1, I.I. 2 and I.I. 3




                               4
       Case 3:15-cv-00675-JBA Document 1163 Filed 05/20/19 Page 5 of 5




                              CERTIFICATE OF SERVICE

      I hereby certify that on May 20, 2019, I caused a copy of the foregoing Response to be

served by ECF upon:

      Nicholas P. Heinke
      Mark L. Williams
      U.S. Securities and Exchange Commission
      1961 Stout St., Suite 1700
      Denver, CO 80294
      HeinkeN@sec.gov
      WilliamsML@sec.gov

      Iftikar Ahmed
      c/o Advocate Anil Sharma
      10 Government Place East
      Ground Floor
      Kolkatta, West Bengal, India 700-069
      iftyahmed@icloud.com

      Stephen M. Kindseth
      Christopher H. Blau
      Zeisler & Zeisler, P.C.
      10 Middle Street, 15th Floor
      Bridgeport, CT 06604
      skindseth@zeislaw.com
      cblau@zeislaw.com

                                                          /s/ S. Gabriel Hayes-Williams




                                              5
